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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                         x
RAMON FONTANEZ, Individually, and On : Case No.: 1:22-cv-05536-ER
Behalf of All Others Similarly Situated, :
                                         :
                              Plaintiff, :
       vs.                               :
                                         : NOTICE OF VOLUNTARY DISMISSAL
                                         :
                                         :
HELEN OF TROY L.P.,
                                         :
                                         :
                              Defendant.
                                         :
                                         :
                                         x


       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Ramon Fontanez hereby gives notice

that the above-captioned action is voluntarily dismissed, without prejudice, against defendant

Helen of Troy L.P.



DATED: July 22, 2022                       MIZRAHI KROUB LLP


                                                           /s/ Edward Y. Kroub
                                                          EDWARD Y. KROUB

                                           EDWARD Y. KROUB
                                           JARRETT S. CHARO
                                           WILLIAM J. DOWNES
                                           200 Vesey Street, 24th Floor
                                           New York, NY 10281
                                           Telephone: 212/595-6200
                                           212/595-9700 (fax)
                                           ekroub@mizrahikroub.com
                                           jcharo@mizrahikroub.com
                                           wdownes@mizrahikroub.com

                                           Attorneys for Plaintiff
